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UNITED STATES DISTRICT COURT |
FOR THE DISTRICT OF COLUMBIA

 

 

UNITED STATES OF AMERICA
Vv. Criminal Action No. 21-290 (RBW)
JEFFREY ALEXANDER SMITH,
Defendant.
_ )
ORDER

In accordance with the oral rulings issued by the Court at the status hearing held on
June 29, 2021, via teleconference, it is hereby

ORDERED that the parties shall appear before the Court for a status hearing on
September 3, 2021, at 2:00 p.m., via teleconference by calling 1-877-873-8017 and entering the
Court’s access code (8583213) followed by the pound key (#). It is further

ORDERED that, with the consent of the parties, the time from June 29, 2021, until the
status hearing scheduled for September 3, 2021, i$ excluded under the Speedy Trial Act, in order
to allow the government to produce additional discovery to the defendant, and to permit counsel
to engage in further discussions regarding how this case should be resolved.

SO ORDERED this 6th day of July, 2021.

   

Melis

REGG{E.B. WALTON
United States District Judge

 
